Clint Schuler
Plezana Schuler
7907 E Portobello Ave
Mesa AZ 85212
480-721-9023
schulerclint@gmail.com


                 IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF ARIZONA

CHANDLER HARPER, RANDEE
HARVEL, and NAN HARVEL

                               Plaintiff,                          (CHAPTER 7)
                                                              CASE # 2:23-bk-07344-DPC
                                                              CASE # 2:24-AP-00011-DPC
vs.

CLINT P. SCHULER and
PLEZANA S SCHULER, husband
and wife,                                            MOTION FOR SUMMARY JUDGMENT

                               Defendants,




             MOTION FOR SUMMARY JUDGEMENT TO DISMISS ADVERSARY
                       COMPLAINT WITH PREJUDICE
                                   AND
              MEMORANDUM OF POINTS AND AUTHORITIES TO SUPPORT


       Comes now, Clint Schuler and Plezana Schuler, debtor/defendants, appearing in Pro Per

to move this Honorable court to dismiss Plaintiff’s adversary complaint with prejudice in it’s

entirety for failure to state a claim for relief, pursuant to Rule F.R.Civ.P. Rule 41(b), F.R.Civ.P.

Rule 56.



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                                  FACTS AND BACKGROUND



        1. Clint Schuler, (CLINT), individual debtor, filed a chapter 7 bankruptcy petition

            on October 13th, 2023 and an order for relief has been entered.

        2. Plezana Schuler (PLEZANA), Clint’s wife, did not file chapter 7 bankruptcy.

        3. PLEZANA is a nondebtor.

        4. Plaintiffs CHANDLER HARPER AND RANDEE HARVEL AND NAN

            HARVEL (HARPER, et al) filed adversary action in this matter October 19th,

            2024, in complaint to determine dischargeability of debt under 11 U.S.C. §

            523(a)(2)(A), alleging ‘debtors Clint Schuler AND Plezana Schuler (defendants)

            defrauded them.

        5. Plaintiff Chandler Harper is a practicing, licensed, attorney at law.

        6. Plezana Schuler is not a debtor as defined in the US bankruptcy code and is not

            under protection of stay.

        7. Plaintiffs’ complaint states in paragraph 1, on page 1,

                a. “Plaintiffs Chandler Harper (“Harper”), Randee Harvel (“Harvel”), and

                    Nan Rachelle Harvel (“Nan Harvel”) (collectively “Plaintiffs”), by and

                    through undersigned counsel, for its Complaint against Debtors Clint P.

                    Schuler and Plezana S. Schuler husband and wife, hereby states as

                    follows:”

        8. In ¶6 of plaintiffs’ complaint, plaintiffs falsely state:

                a. Upon information and belief, Defendants Clint Schuler and Plezana
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                   Schuler (“SCHULER”) are husband and wife and at all relevant times

                   acted on behalf of the marital community and as controlling owners and

                   sole members of PSSC and GENTRY.

        9. PLEZANA, is not a part of, or member, or officer, of CLINT’s businesses (PSSC

           COMPANIES LLC or GENTRY ESTATES LLC) and has never helped manage

           these businesses with CLINT.

        10. As represented in GENTRY ESTATES LLC articles or amendment in Arizona

           state public record, as recorded by the AZ Corporation Commission on December

           08, 2014, PLEZANA was publicly removed as a member of GENTRY ESTATES

           LLC. (see def’s exhibit A, page 1)

        11. Plaintiff’s provide no evidence to support their claims that PLEZANA is a

           controlling owner or sole member of CLINT’s businesses as alleged.

        12. Plaintiffs falsely refer to PLEZANA, as ‘debtor SCHULER’, in their complaint

           allegations.

        13. PLEZANA is a licensed realtor with Berkshire Hathaway in Arizona.

        14. PLEZANA has never met or talked with HARPER et al, any of them.

        15. PLEZANA did not manage or otherwise engage in Clint Schuler’s business’

           contract with HARPER et al, in any way.

        16. Plaintiffs complaint states no fact and provides no evidence plaintiffs engaged

           PLEZANA in any way, or paid her monies, or otherwise interacted with her,

           which would support their claim she managed the contracting business with

           CLINT.

        17. At all times relevant in plaintiff’s complaint, GENTRY ESTATES LLC, was a
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           duly authorized Arizona business and a licensed contractor in Arizona, and

           plaintiff’s exhibit A (contract agreement) reflects plaintiffs contracted with

           GENTRY ESTATES LLC to remodel their Fountain Hills, AZ home.

        18. CLINT signed exhibit A, (the contract) with HARPER et al, as ‘contractor’

           (which term is more specifically defined in A.R.S. 33-1002), for GENTRY

           ESTATES LLC, the Arizona company.

        19. The parties who signed the contract agreement are Randee Harvel and Chandler

           Harper and Gentry Estates LLC.

        20. Chandler Harper and Randee Harvel signed the contract representing themselves

           as ‘Owner/Client’.

        21. Plaintiffs in complaint admit Chandler Harper, in fact, is not an owner in title of

           the subject property, even though he represented himself as owner.

        22. Progress payments were to be made to the contractor pursuant to the agreement.

           (see plaintiff’s exhibit B, agreements/invoices, page 35 of 40, signed by Chandler

           Harper and Randee Harvel, dated 06/22/2022, outlining the payment schedule

           terms (7 payments) as referenced in the agreement)

        23. Plaintiffs did not make all progress payments outlined in the signed agreement(s).

        24. Due to the fact plaintiffs did not make all (7) progress payment as agreed,

           GENTRY ESTATES LLC instructed their provider Titan Lien Company to file a

           mechanics lien on the property thought to be owned by Chandler Harper and

           Randee Harvel and Nan Harvel, which mechanics lien was filed May 26th, 2023.

        25. Plaintiffs exhibit B reflects Randi Senseman, employee of Gentry Estates LLC

           authorized the recording of the GENTRY ESTATES mechanics lien, via Titan
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           lien company.

        26. CLINT did not record a lien against the real property owned by Nan Harvel and

           Randee Harvel.

        27. CLINT at all times relevant believed Chandler Harper was an owner of the

           property referenced in the agreement(s) between the parties and relied on this

           representation made by Chandler Harper and Randee Harvel.

        28. Chandler Harper (or Randee Harvel) did not divulge the fact he was not an owner

           of the real property, as stated in the agreement between the parties, at the time the

           agreements were executed, or thereafter during the construction project.

        29. Once the lien was recorded by Titan Lien for GENTRY, lien holder did not move

           to perfect the mechanics lien or foreclose the real property in litigation.

        30. GENTRY ESTATES did not file suit in Superior Court to foreclose it’s mechanics

           lien as required by Arizona Statute Article 33.

        31. Clint Schuler recently offered, via email to counsel, to provide HARPER with a

           release for the GENTRY ESTATES mechanics lien, and HARPER et al did not

           respond. (see attached def’s exhibit B ).

        32. A.R.S. 33-998 provides a limitation of time to perfect and foreclose a mechanic

           lien in Arizona, which limitation is 6 months after recording notice of lien.

        33. A.R.S. 33-1004 provides for a discharge of lien if the lien claimant does not

           commence a suit within the time allowed pursuant to section 33-998.

        34. Since GENTRY ESTATES did not move forward to perfect and foreclose its

           mechanics lien as required by statute, the lien claim is automatically discharged

           by law.
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        35. Plaintiff(s) interests in the real property have not been affected and have not been

           damaged by GENTRY ESTATES’ mechanics lien.

        36. Plaintiffs, without providing evidence or accounting of payments they allegedly

           made to contractor, or other fact(s) to support their claims, wrongfully allege in

           ¶’s 21-22, that GENTRY ESTATES wrongfully and with malicious intent caused

           a groundless mechanics lien to be recorded on the real property owned by Nan

           Harvel and Randee Harvel.

        37. GENTRY ESTATES provide an accounting statement to HARPER et al and to

           TITAN Lien company prior to Titan Lien recording the mechanics lien. (see def’s

           exhibit D, cost accounting statement, attached hereto)

        38. Clint Schuler, individually, filed suit against HARPER et al in Maricopa County

           Superior Court, case # CV2023-092448, on 05/26/23 in order to collect his 10%

           contractor fee, pursuant to agreement(s) with HARPER.

        39. HARPER et al initially responded to CLINT’s Superior Court amended lawsuit in

           a MOTION TO DISMISS for failure to state a claim for relief pursuant to

           A.R.Civ.P. Rule 12(b)(6), claiming CLINT, individually, was NOT a Party to the

           contract agreements or a valid party in interest, due to the fact HARPER

           contracted with GENTRY ESTATES and due to this fact as alleged, CLINT

           lacked standing to sue or move forward to prosecute his claims. (See paragraph 1,

           page 1, HARPER MTD, Defendants’ Exhibit C, attached hereto).

        40. HARPER in their adversary complaint in this matter now claim CLINT

           SCHULER, is an ‘interested party’ and without providing particular supporting

           facts, is liable to Plaintiffs for fraud, and not only CLINT, but defendant
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           PLEZANA SCHULER, as well.

        41. Plaintiffs in ¶4 of complaint in this adversary action, falsely allege CLINT’s

           businesses PSSC COMPANIES LLC and GENTRY ESTATES are unregistered

           businesses managed by him and his family. (see Debtor/defendant Exhibit A

           (attached), evidence reflecting Clint’s duly authorized businesses.)

        42. Plaintiffs allege in complaint ¶13 they over paid debtor/defendant(s) but Plaintiffs

           provide no evidence to the court of any payments they allegedly made to

           contractor, much less what payments they allegedly made that they ‘overpaid’.

        43. Plaintiffs allege in complaint ¶14 and ¶15, contractor’s abandonment and a breach

           of contract, for failing to ensure construction work was performed in a

           workmanlike manner, but plaintiffs do not state what particular work was

           allegedly abandoned and or allegedly performed.

        44. Plaintiffs have never filed a complaint with the Arizona Registrar of Contractors

           for non-workmanlike work or abandonment claim against GENTRY ESTATES.

        45. Plaintiffs in ¶27 reallege payments they made pursuant to the agreement were

           wrongfully diverted construction trust funds yet they provide no evidence of the

           particular trust funds that were allegedly wrongfully diverted.

        46. Plaintiffs allege in ¶’s 28-32, ‘upon information and belief’, debtor SCHULER,

           including Plezana Schuler (a non-debtor), intentionally and wrongfully

           commingled project funds with other business and personal accounts to benefit

           themselves personally, but plaintiffs provide no particular evidence or fact(s) to

           support their allegations.

        47. Plaintiffs allege in ¶33, upon information and belief, Debtor SCHULER, (again
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           including non-debtor Plezana Schuler) fraudulently utilized funds paid by

           plaintiffs to render the contract parties insolvent, yet plaintiffs provide no

           particular evidence or fact(s) to support their allegations of fraud against Clint

           Schuler or Plezana Schuler.

        48. Plaintiffs allege in ¶34, upon information and belief, the business was

           inadequately capitalized at all relevant times, without including supporting

           evidence or facts to substantiate their allegation.

        49. Plaintiffs’ ¶37 in ‘First Claim for Relief’, restate 11 U.S.C. §523(a)(2) language

           and allege in ¶38, “numerous instances” debtor SCHULER made false

           representations which constitute common law fraud and promissory fraud in

           Arizona.

        50. Plaintiffs do not state particular conduct of Clint Schuler or Plezana Schuler

           which they allege are ‘false representations’ and do not provide supporting facts

           surrounding the alleged ‘false representations’ (referenced in ¶38).

        51. Plaintiffs do not state particular facts surrounding when, or how, the allegedly

           false representations were made, neither do plaintiffs state whom made the false

           representations other than generic statements referring to ‘debtor SCHULER’.

        52. Plaintiffs do not claim any specific damages in their complaint related to any

           alleged subcontractor or materialman not being paid by GENTRY.

        53. Plaintiffs’ complaint does not include any fact or evidence supporting their

           allegation that plaintiffs paid contract monies to GENTRY and subsequently paid

           additional monies to subcontractors or materialmen for work which was the

           responsibility of GENTRY under to the contract.
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         LAW AND ARGUMENT AND AUTHORITY IN SUPPORT OF DISMISSAL OF

                          PLAINTIFFS’ ADVERSARY COMPLAINT



        Federal Rules of Civil Procedure, Rule 8(a) requires that a pleading which states a

claim for relief must contain a short and plain statement of the claim showing that the pleader is

entitled to relief.

        Fed. R. Civ. P. 8 (“(a) CLAIM FOR RELIEF. A pleading that states a claim for relief
        must contain: (1) a short and plain statement of the grounds for the court's jurisdiction,
        unless the court already has jurisdiction and the claim needs no new jurisdictional
        support;(2) a short and plain statement of the claim showing that the pleader is entitled to
        relief; and(3) a demand for the relief sought, which may include relief in the alternative
        or different types of relief.”)



        Plaintiffs HARPER (including licensed attorney Chandler Harper), with intent to harass

and delay proceedings, brought an unsupported baseless adversary action in the United States

Bankruptcy court against debtor CLINT SCHULER and his nondebtor spouse PLEZANA

SCHULER. Plaintiffs’ complaint is starved of sufficient factual detail to properly allege their

claims for relief and damages. Plaintiffs’ complaint allegations are not based upon facts as

alleged in complaint but rather are based on plaintiffs’ conclusory statements, which are false or

completely baseless. Further, plaintiffs, with specific malicious intent, make conclusory

statements without factual foundation in order to harm Plezana Schuler (nondebtor) to move the

court unlawfully to except personal property and the community property from discharge.

        Plaintiffs’ complaint and its conclusory statements provide no factual evidence of actual

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damages to plaintiffs other than attorney fees to file a fruitless action and waste the defendants

and Court’s time and resources and therefore, plaintiffs’ general statements do not support

plaintiffs’ claims for relief.

        In summary, plaintiffs pleading, in it’s entirety, is deficient and does not state a claim for

which relief can be granted.

        And of equal importance, the intent of plaintiffs’ complaint is malicious in that it is

devoid of facts of claims against PLEZANA Schuler (nondebtor), whom plaintiffs falsely refer to

as a ‘debtor’, with intent to except discharge in Clint Schuler’s individual bankruptcy case.

Without foundation for conclusory claims, the plaintiffs intent is to saddle PLEZANA with a

fraud and ultimately collect on the community property of the Schuler’s in the future. Plaintiffs

complaint merely makes a general allegation PLEZANA is a business partner with Clint Schuler

and therefore liable to plaintiffs for fraud. The true facts (as evidenced in def’s exhbits) are

PLEZANA is a nondebtor and a disinterested party, with no relation to Clint Schuler’s

business(es) and should not be identified as debtor defendant in this action. PLEZANA is not a

licensed contractor as defined and described in A.R.S. 32-1101 and cannot be liable for fraud as

plaintiffs allege in false or frivolous mechanics lien recording, or in an alleged breach of duty to

Plaintiffs, pursuant to A.R.S. 11-3005.

        Further, PLEZANA is outside the jurisdiction of the court since she is not a debtor and

therefore is not protected by stay, pursuant to Chapter 7 bankruptcy code applying to the petition

of Clint Schuler. It is improper for plaintiffs to sue a nondebtor spouse in a bankruptcy

adversary proceeding when they have no direct involvement with the debt allegedly owed.

PLEZANA did not contract with plaintiffs and did not sign any agreement or guarantee related to

the alleged debt owed to plaintiffs.
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       A.R.S. §25-214 states in part:

               25-214. Management and control
                      C. Either spouse separately may acquire, manage, control or dispose of
                      community property or bind the community, except that joinder of both
                      spouses is required in any of the following cases:
                      2. Any transaction of guaranty, indemnity or suretyship.
       A.R.S. §25-215 states in part:

               25-215. Liability of community property and separate property for community
               and separate debts

                       A. The separate property of a spouse shall not be liable for the separate
               debts or obligations of the other spouse, absent agreement of the property owner
               to the contrary.



       Plaintiffs are aware, and their lack of facts in complaint, along with defendants’ exhibits,

further evidence that Plezana Schuler is not involved in Clint Schuler’s businesses in any way.

       Plaintiffs’ intent is to confuse the court in their complaint wrongfully naming Plezana

Schuler as ‘debtor’ defendant and hinder justice in this matter and cause undue delay in the

bankruptcy proceedings of Clint Schuler.

       Plaintiff Chandler Harper is an attorney and intentionally chose to engage in false and

frivolous, malicious litigation against defendants SCHULER.

       Plaintiffs’ conclusory statements in complaint against ‘debtor SCHULER’ (including

Plezana Schuler) constitutes harassment and have caused her emotional and financial stress,

caused her undue expense, and unlawfully caused delay in Clint’s chapter 7 bankruptcy

proceeding and their baseless claims should be subject to sanction and further action by

PLEZANA in order to pursue damages, caused by plaintiffs, in Superior Court.


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       Further precedent establishes:

               “When a creditor asserts a claim against a debtor for nondischargeability under §

               523, it is not necessary to name the non-filing "innocent spouse" or seek separate

               relief from the community property discharge because, pursuant to § 524(a)(3), a

               community claim excepted from discharge under § 523 is automatically excepted

               from the community property discharge”. See Case v. Maready (In re Maready),

               122 B.R. 378, 381-82 (9th Cir. BAP 1991) (holding that plaintiff is not required to

               allege and prove that a debt is community claim under § 523 or give the innocent

               spouse notice of the nondischargeability proceeding). Whether the claim is a

               community claim, and whether it can be collected from community property, can

               be determined at the time of collection. Id.

       Also established in fact, Plaintiffs at this time in proceeding, are legally barred from

pursuing claims against non-debtor Plezana Schuler.

       Plaintiffs’ complaint, prayer for relief in adversary proceeding, is prefaced on Bankruptcy

Code 11 USC §523(a)(6), §523(a)(4), §523(a)(2)(A). Plaintiffs’ complaint is wrongful against

PLEZANA in that it ignores relevant and applicable Bankruptcy Code and the established rules

for correct process in claiming against non-debtor spouse.

               The Rules do not expressly provide the procedure for asserting hypothetical
               nondischargeability or objections to discharge under § 524. But, pursuant to §
               524(a)(3), hypothetical nondischargeabilty based on a nondebtor's conduct must
               be "determined in accordance with the provisions of §§ 523(c) and 523(d)."
               Section 523(c) requires creditors with notice of the case to affirmatively seek a
               nondischargeability determination of claims asserted under §§ 523(a)(2), (4) or
               (6), or have those claims discharged. And Rule 4007(c) provides that a complaint
               under § 523(c) must be filed within 60 days of the meeting of creditors.
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                 United States Bankruptcy Appellate Panel, Ninth Circuit, In re Lockhart-Johnson
                 Decided Jul 28, 2021, BAP CC-20-1161-GKT Bk. 2:20-bk-10969-BB
                 07-28-2021
       Plaintiffs did not assert claims in this adversary action under 11 USC §§ 523(c) or 523(d)

and Rule 4007(c) expressly states, creditors claims against a nondebtor (PLEZANA) must be

filed within 60 days. Plaintiffs cannot simply claim PLEZANA is a ‘debtor’ to by pass Rule

4007(c). The reason plaintiffs did not file proper claim per applicable U.S.C. §524(a)(3) and

§523(c) is they cannot establish facts of alleged conduct for Plezana Schuler to support such a

claim for nondischargeability. Instead, plaintiffs chose an inapplicable rule to pursue a

nondebtor in a frivolous adversary action. Plaintiffs’ claims against PLEZANA are barred as a

matter of law.

       In further continuing argument of Plaintiffs’ conclusory claims against debtor CLINT

SCHULER,

                 “Normally, exceptions to discharge [are to] be narrowly construed against the

                 creditor and liberally against the debtor, thus effectuating the fresh start policy of

                 the Code.” 80 Merchants National Bank of Winona v. Moen (In re Moen), 238 B.R. 785, 790

                 (B.A.P. 8th Cir. 1999) (citation omitted).

                 “However, the Bankruptcy Code has long prohibited debtors from discharging

                 liabilities incurred on account of their fraud, embodying a basic policy animating the

                 Code of affording relief only to an ‘honest but unfortunate debtor.’’ Cohen v. de la

                 Cruz, 523 U.S. 213, 118 S.Ct. 1212, 1216, 140 L.Ed.2d 341 (1998).

       Plaintiffs, in this adversary action seek to recover under § 523(a)(2)(A); the plaintiffs

must prove by a preponderance of evidence that debtor CLINT SCHULER acted against them

with fraudulent intent and caused them damages.

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               11 U.S.C. § 523(a)(2) states that a discharge of a debtor does not affect a debt:
               (2) for money, property, services, or an extension, renewal, or refinancing of
               credit, to the extent obtained by—
               (A) false pretenses, a false representation, or actual fraud, other than a statement
               respecting the debtor’s or an insider’s financial condition;


       To prevail under § 523(a)(2)(A) a creditor must prove a false pretense, misrepresentation,

or actual fraud by a preponderance of the evidence. Grogan v. Garner, 498 U.S. 279, 111 S.Ct. 654,

112 L.Ed.2d 75 (1991).

       A claim of false pretense or misrepresentation consists of the following elements:

               (1) That the debtor made a false representation; (2) that at the time the debtor
                   knew the representation was false; (3) that the debtor made the representation
                   deliberately and intentionally with the intention and purpose of deceiving the
                   creditor; (4) that the creditor justifiably relied on such representation; and (5)
                   that the creditor sustained the alleged loss and damage as the proximate result
                   of the representation having been made. Merchants, 238 B.R. at 790; In re
                   Ophaug, 827 F.2d 340 (8th Cir. 1987), as supplemented by Field v. Mans, 516 U.S.
                   59, 116 S.Ct. 437, 133 L.Ed.2d 351 (1995).


               Rennaker v. Davis (In re Davis), No. 20-40679-MXM-7, 19 (Bankr. N.D. Tex.
               Nov. 9, 2021) (“False pretenses and a false representation requires the creditor to
               prove (i) the existence of a knowing and fraudulent falsehood, (ii) that the
               fraudulent falsehood described past or current facts, and (iii) that the creditor
               justifiably relied upon the fraudulent falsehood. False pretenses and a false
               representation have statements that falsely depict current or past fact”)


       Actual fraud under 11 U.S.C. §523(a)(2) is construed somewhat differently than false

       pretenses or misrepresentation:



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                  Actual fraud, by definition, consists of any deceit, artifice, trick or design involving
                  direct and active operation of the mind, used to circumvent and cheat another--
                  something said, done or omitted with the design of perpetrating what is known to be a
                  cheat or deception. (citing RecoverEdge L.P. v. Pentecost, 44 F.3d 1284, 1293 (5th Cir.
                  1995) and Collier § 523.08[5]); see also In re Stentz, 197 B.R. 966, 981 (Bankr. D. Neb.
                  1996).



          Plaintiffs’ complaint includes no particular facts alleging debtor SCHULER’s specific

intentional actions to trick or deceive them; or alleged facts related to SCHULER’s state of mind

at particular times or in certain circumstances, with them, acted on under false pretense(s); or

alleged facts of debtor SCHULER’s intentional misrepresentations at particular times or in

particular conduct with intent to harm or defraud them.

          F.R.Civ.P Rule 9(b) states:

                  Fraud or Mistake; Conditions of Mind. In alleging fraud or mistake, a party must
                  state with particularity the circumstances constituting fraud or mistake.

          Federal Rules of Civil Procedure 9(b) requires allegations of fraud be plead with

particularity and while Federal Rule of Civil Procedure Rule 8(a)(2) (referenced earlier, above)

requires only a short and plain statement of the claim showing that the pleader is entitled to

relief,

          the “short and plain statement” must give the defendant “fair notice of what the
          plaintiff’s claim is and the grounds upon which it rests,” Conley v. Gibson, 355 U.S.
          41,47


                  According to either Rule 8 or 9, Plaintiffs have failed to state a claim for which

relief can be granted by this Court. Plaintiffs do not effectively claim the elements of fraud in

detailing the who, what, when, where, and how of the alleged fraud of SCHULER.
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        Plaintiffs claims against SCHULER are merely conclusory statements.

        Plaintiffs’ complaint aside from all other issues previously argued, unsuccessfully

attempts to rely on an false allegation that debtor/defendant Clint Schuler, maliciously and with

fraudulent intent, filed a mechanics lien on their real property causing them damages.

Contradictorily, plaintiffs exhibit B, instead reflects the truth of the lien filing by contractor

GENTRY ESTATES LLC (not Clint Schuler individually). The exhibit reflects Randi

Senseman signed the affidavit for the lien recording after describing non-payment by Plaintiffs

for monies owed on the building contract agreement with GENTRY ESTATES. Plaintiffs’ facts

and evidence do not support that Clint Schuler intentionally, with malicious intent, filed a false

and frivolous lien on the real property of plaintiffs in order to cause them damages. An Arizona

contractor (GENTRY ESTATES LLC, in this case) has a right to file a mechanics lien pursuant

to law (ARS §33-993) and the fact the lien was filed by Randi Senseman (construction

coordinator for GENTRY) does not in itself meet the requirements by statute to evidence malice

or fraud by debtor SCHULER, as Plaintiffs allege.

        Plaintiffs’ other contentious claim unsuccessfully alleges debtor/defendant Clint Schuler

and Plezana Schuler are (somehow) liable for a diversion of plaintiff’s monies paid to GENTRY

ESTATES violating A.R.S. 33-1005, without any particular supporting facts for their allegation.

        With no particular mention of SCHULER defendants, Plaintiffs in ¶18 state generally

‘PSSC and GENTRY wrongfully diverted plaintiff’s monies…’.

        Further, plaintiffs in ¶19 generally claim unsupported ‘damages’ due to defendants

‘violations’. The trier of fact can only wonder what ‘damages’ and ‘violations’ the plaintiffs are

referring to. The defendants have a right to notice of the claims and the grounds for the claims

made against him. Id. Conley v. Gibson, 355 U.S.
16 | P a g e - D e b t o r / D e f e n d a n t ’ s M O T I O N F O R S U M M A R Y
JUDGMENT


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       In ¶20, plaintiffs complaint attempts to bring in SCHULER ‘defendants’, personally, with

another general conclusory statement that debtor/defendants are ‘jointly and severally liable for

all such misappropriations of monies paid….’. Plaintiffs, again provide no short plain

statements of fact(s), as properly plead actions require, to support their claim of wrongful

conduct on behalf of ‘debtors SCHULER’ allegedly making them jointly and severally liable.

       There is little doubt plaintiffs complaint lacks any factual claim, plead with specificity or

particularity, as it relates to debtor SCHULER (absent GENTRY) and this is grounds for

dismissal of their adversary action.

       Without the properly plead facts to support plaintiffs allegations, Plaintiffs lack standing

to pursue their claims against debtor Clint Schuler.

       Although the Court has been inconsistent, it has now settled upon the rule that, “at an
       irreducible minimum,” the constitutional requisites under Article III for the existence of
       standing are that the plaintiff must personally have: 1) suffered some actual or threatened
       injury; 2) that injury can fairly be traced to the challenged action of the defendant; and 3)
       that the injury is likely to be redressed by a favorable decision. See Lujan v. Defs. of
       Wildlife, 504 U.S. 555, 560–61 (1992). Importantly, standing is not “dispensed in gross,”
       and, accordingly, a plaintiff must demonstrate standing for each claim “he seeks to press
       and for each form of relief that is sought.” See Davis v. FEC, 554 U.S. 724, 734 (2008)



               - Plaintiffs adversary complaint, generally claims they are a creditor of

               GENTRY ESTATES, a disinterested party in this action.

               - Plaintiffs complaint does not plead sufficient facts to allege they are a creditor

               of defendant debtor Clint Schuler or nondebtor defendant Plezana Schuler.




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        Plaintiffs in ¶11-16 describes the contract between the parties which has absolutely

nothing to do with the debtor and defendant, but rather only involves debtor’s business

GENTRY ESTATES.

        GENTRY ESTATES is the licensed contractor allegedly held to the duty of trust

standards plaintiffs argue in complaint. The contract document itself (plaintiffs’ exhibit A)

represents GENTRY ESTATES is the ‘dba’ party agreeing to the contract with the plaintiffs,

signed by debtor defendant Clint Schuler, only, not Plezana, along with plaintiffs Chandler

Harper and Randee Harvel

          In ¶21-22, plaintiffs generally claim that GENTRY’s mechanics lien is wrongful

because it is groundless and invalid and creates a cloud on the real property of plaintiffs.

Plaintiffs in ¶22 falsely claim the contested contract with GENTRY and the subsequent

mechanics lien GENTRY filed, cloud their property, when in fact the lien effect is currently

extinguished per statute (A.R.S. 33-1004) due to fact GENTRY did not move to foreclose lien in

6 months per statute. It is understood GENTRY is the ‘contractor’ in agreement with the

plaintffs, because only GENTRY holds a contractor’s license in Arizona #278337, as represented

in the agreement. A contractor’s ability to record a mechanics lien on real property is provided

per Arizona statute and the action of recording a mechanics lien is not in itself malicious, without

facts supporting the contrary. Arizona statutes provides means for a suit to foreclosure a

mechanics lien, which must be initiated to determine the validity of the lien, within 6 months of

filing, or the contractors ability to perfect the lien is void and the lien is then extinguished by

law.

        Plaintiffs claims in these paragraphs ¶21-22 generally allege conduct related to the

damages of Plaintiffs, and these damages are attributed to conduct of GENTRY ESTATES, a
18 | P a g e - D e b t o r / D e f e n d a n t ’ s M O T I O N F O R S U M M A R Y
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nondebtor, and not under jurisdiction of this Court.

        GENTRY ESTATES, alleged debtor in plaintiffs’ claims in adversary action, did not file

for bankruptcy. GENTRY ESTATES is not under protection of stay of this Court. Even though,

Plaintiffs adversary complaint alleges general damages caused by GENTRY ESTATES, proper

venue for Plaintiffs complaint allegations against GENTRY is not the US Bankruptcy Court.

Plaintiffs lack standing to lay claims against GENTRY ESTATES in this Court. Further,

GENTRY ESTATES lacks legal standing in this US Bankruptcy Court to defend or pursue

counterclaims against Plaintiffs. Clearly plaintiffs lack standing to pursue claims of damages for

‘wrongful lien’ as outlined in complaint ¶B (page 8 of 40).

        Plaintiffs’ prayer for relief to release the lien of GENTRY ESTATES and any awards

related thereto do not have jurisdiction of this Court.

        Plaintiffs prayer of relief for ‘non-dischargeable debts’ for a wrongful lien pursuant to 11

U.S.C. §523(a)(2)(a) should be dismissed as null and void since GENTRY ESTATES is a

nondebtor. Debtor Clint Schuler, or nondebtor defendant Plezana Schuler, did not sign the

affidavit of lien or record the lien against the real property of Plaintiff(s) (Plf’s exhibit B), and

plaintiffs unjust attempt to except discharge for alleged damages due to the GENTRY lien in

their adversary action is a perverted attempt at justice in improper venue.

        Plaintiffs complaint also alleges a breach of fiduciary duty between contractor (pursuant

to statute A.R.S. 33-1005) and an owner-occupant as defined in A.R.S. 33-1002. GENTRY

ESTATES is the contractor and nondebtor as evidenced in agreement and pursuant to law. In

order to generally support the alleged breach of fiduciary duty in adversary action, plaintiffs

complaint ¶46 falsely states debtor SCHULER, received trust monies from Plaintiffs, paid under

the contract terms, which was diverted. Plaintiffs provide no fact or evidence to support they
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paid alleged ‘debtor SCHULER’ any monies separate from contractor.

       Plaintiffs further contradict their claims stated in ¶46, as evidenced in ¶13. Plaintiffs

state in ¶13 they overpaid contractor ‘PSSC’ (not debtor SCHULER, as in ¶46) under the

contract terms. The fact of plaintiffs contradicting claims in various general statements is why

plaintiffs provide no evidence or other facts to support their allegations of overpayment to debtor

defendant(s) SCHULER, and or contractor GENTRY, or otherwise support their similar

continuing claims in ¶’s 17-19.

       Plaintiffs, again, merely make conclusory statements in ¶ 20 and ¶27 claiming misuse or

diversion of funds without including supporting facts or evidence to draw their conclusions and

support their claims for relief against defendant debtor(s) SCHULER.

       Plaintiffs merely make conclusory statements in ¶’s 38-39 stating the representations

made by defendant ‘debtor SCHULER’, in errors or omissions, false and misleading statements

made under false pretenses, therefore constitute fraud, without including or offering any

particular facts or other evidence to support their claims. Plaintiffs state no particular

supporting facts alleging particular conduct of defendant(s), PLEZANA or CLINT, allegedly

constituting false or misleading representations, at a particular time or under particular

circumstances, which would constitute common law fraud or promissory fraud under Arizona

law.

       Plaintiffs in complaint ¶42, make another conclusory statement that defendants acted

willfully and maliciously, and defendants have been unjustly enriched without providing any

evidence or facts to otherwise support their claim of unjust enrichment of defendant(s), CLINT

or PLEZANA. Plaintiffs complaint provides no evidence and states no fact that supports

CLINT or PLEZANA diverted any particular amount of trust money plaintiffs paid to contractor
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which was intended for construction services under the contract, to enrich themselves personally.

And, since plaintiff’s claims lack supporting fact and evidence they interacted with PLEZANA

in any way, there is no explanation of how she could have diverted funds and or committed fraud

against them.

       Plaintiffs’ complaint includes no alleged fact and no supporting evidence PLEZANA, or

CLINT, or GENTRY ESTATES did not appropriately hold ‘monies paid by, or for an

owner/occupant’ in trust as described in A.R.S. 33-1005.

       Plaintiff’s put forth no fact or other evidence in complaint that PLEZANA or CLINT

diverted ‘monies paid by or for an owner/occupant’ (per statute), away from subcontractors,

ultimately causing them damages for which CLINT or PLEZANA should be forever indebted,

and should be excepted from discharge per U.S.C. §523(a)(4).



                                              IN CONCLUSION

       In consideration of the preceding argument and as the facts in evidence show, individual

debtor CLINT and nondebtor defendant PLEZANA should not be indebted to HARPER et al and

was not indebted to HARPER et al at the time of his chapter 7 bankruptcy petition filing.

Plaintiffs provide no fact or evidence to the contrary.

       The actual facts and evidence (attached and included herein) show defendant PLEZANA

could not be indebted to HARPER et al, and was not indebted HARPER et al at the time of

CLINT’s chapter 7 petition filing. The plaintiffs provide no fact or evidence in complaint to the

contrary.

       Defendant PLEZANA has not filed for bankruptcy protection and therefore is not under

protection of stay in the bankruptcy court.
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       Since Defendant PLEZANA did not file bankruptcy and is not under protection of stay,

venue and jurisdiction in this court is not justified; she is an unrelated party which facts and

evidence shows did not contract or otherwise engage with the plaintiffs. She is a disinterested

nondebtor and lacks standing to defend herself against plaintiff’s claims made pursuant to 11

U.S.C. §523 or otherwise file counterclaim against plaintiffs. Plaintiffs did not pursue action

against a nondebtor (PLEZANA), as provided by RULE 4007(c) in applicable Statute, within the

timeframe allowed by such Rule, and therefore all of plaintiffs claims against PLEZANA should

be dismissed as a matter of law.

       Plaintiff’s adversary complaint also fails to state a claim against Clint Schuler, or Plezana

Schuler, for which this honorable court can provide relief via U.S.C. §523(a(2)(A), U.S.C.

23(a)(4), U.S.C. § 523(a)(6), and therefore plaintiffs’ claims should be dismissed as a matter of

law.

       Plaintiffs’ complaint makes broad and general allegations with conclusory statements

against defendant ‘debtors’. Plaintiffs apparently do not truly understand PLEZANA is a

nondebtor or are intentionally trying to subvert justice in this matter, maliciously. Plaitiffs

complaint merely references statute(s) and violations, providing no factual basis or evidence

related to just and proper claims.



       PRAYER FOR RELIEF

               Therefore, in proper consideration of the law and argument above, the facts and

       evidence in Plaintiffs complaint, along with the exhibits attached to this Defendant’s

       Motion for Summary Judgment, Clint Schuler as debtor, and Plezana Schuler, as

       nondebtor, hereby prays the Court rule in favor of defendants and order the dismissal of
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       Plaintiffs’adversary complaint with prejudice. Plaintiffs complaint is devoid of facts and

       evidence as required;

                  •      pursuant to Federal Rules of Civil Procedure, Rule 8(a) which requires the

                         court’s proper jurisdiction and that a pleading which states a claim for

                         relief must contain a short and plain statement of the claim showing that

                         the pleader is entitled to relief, for which Plaintiffs complaint fails to

                         comply;

                  •      and pursuant to F.R.C.P. Rule 9(b) which states in alleging fraud or

                         mistake, a party must state with particularity the circumstances

                         constituting fraud or mistake,

       and, therefore plaintiffs’ adversary complaint fails to state a claim for which relief can be

granted by this Court.

       Defendants also pray this Court consider a just award for sanctions against plaintiffs for

filing a frivolous and baseless complaint. Defendants pray any such award via sanctions be

applied to the debtor’s bankruptcy estate, under management of Trustee.



       Respectfully requested, sworn to, and submitted to this Honorable Court, this 6th Day of

February 2024, by defendants, Clint Schuler and Plezana Schuler.

       Via electronic signature

       ____/s/____Clint Schuler____

       ____/s/____Plezana Schuler___

                         Clint Schuler
                         Plezana Schuler
                         7907 E Portobello Ave., Mesa, AZ 85212, 480-721-9023 (cell)
23 | P a g e - D e b t o r / D e f e n d a n t ’ s M O T I O N F O R S U M M A R Y
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                            CERTIFICATE OF SERVICE

I, Clint Schuler, hereby certify that a true and correct copy of this Motion for Summary
Judgment was served on PLAINTIFFS and TRUSTEE (listed below) via USPS first class mail,
with proper US postage paid, this 6th day of February, 2024 .


Electronic signature – Clint Schuler

/s/ CLINT PATRICK SCHULER              /s/ PLEZANA SCHULER



DAVID M. REAVES TRUSTEE
PO BOX 44320
PHOENIX, AZ 85064−4320
Contact phone 602−241−0101
Email: trustee@reaves−law.com


PALECEK & PALECEK PLLC
ATTORNEYS AT LAW
6263 N. Scottsdale Rd., Suite 144
Scottsdale, Arizona 85250
Telephone: (602) 522.2454
Facsimile: (602) 522.2349
JAMES J. PALECEK #015953




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  DEPARTMENT OF THE TREASURY
  INTERNAL REVENUE SERVICE
  CINCINNATI OH    45999-0023

                                                      Date of this notice:   01-11-2018

                                                      Employer Identification Number:
                                                      XX-XXXXXXX

                                                      Form:   SS-4

                                                      Number of this notice:   CP 575 B
      PSSC COMPANIES LIMITED LIABILITY CO
      PSSC COMPANIES
      % $-*/54$)6-&3 MBR                             For assistance you may call us at:
      7907 E PORTOBELLO AVE                           1-800-829-4933
      MESA, AZ 85212

                                                      IF YOU WRITE, ATTACH THE
                                                      STUB AT THE END OF THIS NOTICE.




              WE ASSIGNED YOU AN EMPLOYER IDENTIFICATION NUMBER

     Thank you for applying for an Employer Identification Number (EIN). We assigned you
EIN XX-XXXXXXX. This EIN will identify you, your business accounts, tax returns, and
documents, even if you have no employees. Please keep this notice in your permanent
records.

     When filing tax documents, payments, and related correspondence, it is very important
that you use your EIN and complete name and address exactly as shown above. Any variation
may cause a delay in processing, result in incorrect information in your account, or even
cause you to be assigned more than one EIN. If the information is not correct as shown
above, please make the correction using the attached tear off stub and return it to us.

     Based on the information received from you or your representative, you must file
the following form(s) by the date(s) shown.



     If you have questions about the form(s) or the due date(s) shown, you can call us at
the phone number or write to us at the address shown at the top of this notice. If you
need help in determining your annual accounting period (tax year), see Publication 538,
Accounting Periods and Methods.

     We assigned you a tax classification based on information obtained from you or your
representative. It is not a legal determination of your tax classification, and is not
binding on the IRS. If you want a legal determination of your tax classification, you may
request a private letter ruling from the IRS under the guidelines in Revenue Procedure
2004-1, 2004-1 I.R.B. 1 (or superseding Revenue Procedure for the year at issue). Note:
Certain tax classification elections can be requested by filing Form 8832, Entity
Classification Election. See Form 8832 and its instructions for additional information.

     A limited liability company (LLC) may file Form 8832, Entity Classification
Election, and elect to be classified as an association taxable as a corporation. If
the LLC is eligible to be treated as a corporation that meets certain tests and it
will be electing S corporation status, it must timely file Form 2553, Election by a
Small Business Corporation. The LLC will be treated as a corporation as of the
effective date of the S corporation election and does not need to file Form 8832.

     To obtain tax forms and publications, including those referenced in this notice,
visit our Web site at www.irs.gov. If you do not have access to the Internet, call
1-800-829-3676 (TTY/TDD 1-800-829-4059) or visit your local IRS office.




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     (IRS USE ONLY)    575B                 01-11-2018   PSSC   B   9999999999   SS-4




     IMPORTANT REMINDERS:

          *   Keep a copy of this notice in your permanent records. This notice is issued only
              one time and the IRS will not be able to generate a duplicate copy for you. You
              may give a copy of this document to anyone asking for proof of your EIN.

          *   Use this EIN and your name exactly as they appear at the top of this notice on all
              your federal tax forms.

          *   Refer to this EIN on your tax-related correspondence and documents.

          If you have questions about your EIN, you can call us at the phone number or write to
     us at the address shown at the top of this notice. If you write, please tear off the stub
     at the bottom of this notice and send it along with your letter. If you do not need to
     write us, do not complete and return the stub.

          Your name control associated with this EIN is PSSC. You will need to provide this
     information, along with your EIN, if you file your returns electronically.

          Thank you for your cooperation.




                               Keep this part for your records.           CP 575 B (Rev. 7-2007)

----------------------------------------------------------------------------------------------

       Return this part with any correspondence
       so we may identify your account. Please                                          CP 575 B
       correct any errors in your name or address.
                                                                                 9999999999


       Your Telephone Number   Best Time to Call   DATE OF THIS NOTICE: 01-11-2018
       (     )      -                              EMPLOYER IDENTIFICATION NUMBER: XX-XXXXXXX
       _____________________   _________________   FORM: SS-4               NOBOD




      INTERNAL REVENUE SERVICE                             PSSC COMPANIES LIMITED LIABILITY CO
      CINCINNATI OH    45999-0023                          PSSC COMPANIES
                                                           % CLINT SCHULER MBR
                                                           7907 E PORTOBELLO AVE
                                                           MESA, AZ 85212

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 From:           schulerclint@gmail.com
 To:             jpalecek@paleceklaw.com
 Subject:        RE: Adversary Action Harper v. Schuler
 Date:           Wednesday, January 31, 2024 9:15:00 AM


Good morning,

I wanted to touch base after you filed the adversary action 2:24-AP-00011 and prior to our response
motion in that case.
At the time of filing BK, I was not planning on moving forward with the civil action we initiated in
Superior Court and planned to let it expire without moving for a lift stay.
Would your client consider dropping the adversary and third party claim in superior court, in
exchange for a mutual release of superior court action(s) and release of lien and all claims?

Respectfully,

Clint S.
480-721-9023




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 1   PALECEK & PALECEK PLLC
     ATTORNEYS AT LAW
 2   6263 N. Scottsdale Rd., Suite 144
     Scottsdale, Arizona 85250
 3   Telephone: (602) 522.2454
     Facsimile: (602) 522.2349
 4   JAMES J. PALECEK #015953
     jpalecek@paleceklaw.com
 5   Attorneys for Defendants
 6
                IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 7
                         IN AND FOR THE COUNTY OF MARICOPA
 8
     CLINT SCHULER, a individually
 9   appearing In Pro Per,                      CASE NO. CV2023-092448
10                    Plaintiffs,
11   v.                                               DEFENDANTS’ MOTION TO
                                                        DISMISS COMPLAINT
12   CHANDLER HARPER, RANDEE
     HARVEL aka RANDEE HARPER,
13   NAN RACHELLE HARVEL, AND                        (Assigned to the Honorable Peter
     DOES 1-10 PRESENTLY                                        Thompson)
14   UNKNOWN PERSONS,
     PARTNERSHIPS, ASSOCIATIONS,
15   LIMITED LIABILITY COMPANIES
     AND OR CORPORATIONS OR
16   TRUSTS,
17                    Defendants.
18

19
            Defendants Chandler Harper, Randee Harvel, and Nan Rachelle Harvel
20

21   (collectively “Defendants”), by and through undersigned counsel and pursuant to Rule

22   12(b)(6) Ariz.R.Civ.P., hereby move to dismiss Plaintiff’s Complaint in its entirety for
23
     “failure to state a claim upon which relief can be granted.” As more fully discussed
24
     below, Plaintiff, an individual, is not a party to the construction contract that is the
25

26   subject of this dispute and, therefore, lacks any rights or “standing” to seek or to obtain

27   any relief, Counts I and II of Plaintiff’s Complaint are based “in contract.” Further,
28
     Plaintiff, as an individual, cannot state a claim for unjust enrichment (Count III) or for

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 1   fraud (Count IV) related to the construction agreement where he was not a party to the
 2
     underlying agreement.        This motion is more fully supported by the following
 3
     Memorandum of Points and Authorities and the entire file in this matter.
 4
 5                   MEMORANDUM OF POINTS AND AUTHORITIES

 6   I.     FACTUAL BACKGROUND
 7
            On or about December 14, 2021, Defendants Chandler Harper and Randee Harvel
 8
     entered into an agreement for remodeling services on their home with PSSC Companies,
 9
10   LLC dba Gentry Estates and the construction work was performed by Gentry Estates,

11   LLC, an entity licensed by the Arizona Registrar of Contractors. A copy of the contract
12
     is attached hereto as Exhibit A. Plaintiff Clint Schuler (“Schuler”) is a Member of
13
     Gentry Estates, LLC. PSSC Companies, LLC does not appear to be a registered entity
14
15   with the State of Arizona.

16          Moreover, on or about May 26, 2023, Gentry Estates, LLC recorded a Notice and
17
     Claim of Mechanics and Materialman’s Lien on Defendants’ property, a copy of which
18
     is attached hereto as Exhibit B.
19
20          In the Complaint filed with this Court, Plaintiff Schuler is representing himself,

21   but he is seeking damages based upon an alleged breach of the Exhibit A contract, to
22
     which he is not a party. All four Counts in the Complaint arise out of the alleged breach
23
     of contract, and all Counts contain allegations directly related to the contractual
24
25   agreement. See, specifically, allegations 9-11 of Plaintiff’s Complaint, under “Facts

26   Common to All Claims.”
27

28


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 1          Plaintiff likely filed suit in his own name, personally, to avoid the requirement to
 2
     hire counsel on behalf of the company, which is the real party in interest. Counsel for
 3
     Defendants met and conferred with Plaintiff Schuler prior to filing this motion and
 4
 5   Plaintiff indicated that he was suing for “personal damages” resulting from the alleged

 6   breach, and he believed he could represent himself for “personal damages,” which he
 7
     said he would further clarify. See Good Faith Consultation Certificate filed
 8
     contemporaneously herewith.
 9
10
11   II.    LAW & ARGUMENT
12
            A. Standard of Review
13
                Under Rule 12(b)(6), a complaint is subject to dismissal where it fails to state a
14
15   claim, or when “the plaintiff should be denied relief as a matter of law given the facts

16   alleged.” Hogan v. Washington Mut. Bank, N.A., 230 Ariz. 584, 586, 277 P.3d 781, 783
17
     (2012). In evaluating the complaint, courts “will not accept as true allegations consisting
18
     of conclusions of law, inferences or deductions that are not necessarily implied by well-
19
20   pleaded facts, unreasonable inferences or unsupported conclusions from such facts, or

21   legal conclusions alleged as facts.” Jeter v. May Clink Ariz., 211 Ariz. 386, 389 ¶ 4, 121
22
     P.3d 1256, 1259 (App. 2005). The court must determine whether the complaint,
23
     construed in the light most favorable to the plaintiff, sufficiently sets forth a valid claim.
24
25   Anson v. American Motors Corp., 155 Ariz. 420, 421, 747 P.2d 581, 582 (App. 1987).

26   Thus, a trial court should grant a motion brought pursuant to Arizona Rule of Civil
27
     Procedure 12(b)(6) when it appears certain that the plaintiff would not be entitled to relief
28


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 1   under any theory given the facts and claims alleged. See Forum Dev., L.C. v. Ariz. Dep't
 2
     of Revenue, 192 Ariz. 90, 93, 961 P.2d 1038, 1041 (App. 1997).
 3
                While the scope of review is limited to the face of the complaint, the Court
 4
 5   may consider an extrinsic document if the complaint: "(l) refers to the document; (2) the

 6   document is central to the plaintiff's claim; and (3) no party questions the authenticity of
 7
     the copy of the document attached to the 12(b)(6) motion." Marder v. Lopez, 450 F.3d
 8
     445, 448 (9th Cir. 2006); Brosie v. Stockton, 105 Ariz. 574, 576, 468 P.2d 933, 935
 9
10   (1970); Ariz. R. Civ. P. 12(c); Strategic Dev. & Const., Inc. v. 7th & Roosevelt Partners,

11   LLC, 224 Ariz. 60, 64,114,226 P.3d 1046, 1050 (App. 2010).
12
            B. Plaintiff cannot assert claims against Defendants for Breach of
13             Contract, Breach of Implied Covenant of Good Faith and Fair
               Dealing, or Unjust Enrichment
14
15              As stated above, Schuler was not a party to the contract upon which he

16   seeks damages. It is clear from the allegations that each Count contained in
17
     Plaintiff’s complaint arises out of the alleged breach of the contract between
18
     Defendants and PSSC Companies, LLC dba Gentry Estates. There is no contract
19
20   that exists between Plaintiff and Defendants and, as such, Plaintiff’s Complaint in

21   its entirety fails as a matter of law. Plaintiff does not have individual rights or
22
     “standing” to bring any of the enumerated contract claims, nor can it assert the
23
     unjust enrichment claim related to an underlying agreement to which he was not a
24
25   party. As a result, Counts I, II, and III of Plaintiff’s Complaint must be dismissed.

26
27

28


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 1          C. Plaintiff cannot assert its claim against Defendants for Fraud and
 2
               has failed to sufficiently plead the elements.

 3          Plaintiff’s claim for Fraud is also based upon the Exhibit A contractual
 4   relationship, and, as such, Plaintiff, as an individual who was not a party to the
 5
     contract, has no valid claim for any relief. As a result, Count IV of Plaintiff’s
 6
     Complaint must be dismissed.
 7
 8          D. Corporations are Required to be Represented by Counsel
 9          In Arizona, there are certain limitations to self-representation, including the fact
10
     that corporations and partnerships must be represented by an attorney. The Supreme
11
     Court of Arizona has recognized that a corporation cannot appear in court without a
12
13   lawyer, and if it does so, the appearance is defective. See Boydston v. Strole Dev. Co.,
14   193 Ariz. 47, 49, 969 P.2d 653, 655 (1998); see also Ramada Inns, Inc. v. Lane and
15
     Bird Adver., Inc., 102 Ariz. 127, 128, 426 P.2d 395, 396 (1967), “Absent statutory
16
     authority a corporation cannot practice law even in its own behalf. A corporation cannot
17

18   appear in court by an officer who is not an attorney, and it cannot appear in propria
19   persona.”
20
            As set forth above, an entity must be represented by an attorney to maintain an
21
     action in Maricopa County Superior Court. Given that the basis of Schuler’s
22

23   Complaint and the alleged damages sought derive from a construction contract
24   signed and performed by PSSC Companies, LLC d/b/a/ Gentry Estates, LLC, this
25
     lawsuit is defective and should be dismissed as it is brought in the name of an
26
     individual who does not have rights under the contract.
27

28


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 1           Based upon the allegations and undisputed documents attached hereto, the
 2
     proper Plaintiff in this action is the entity, not Schuler as an individual. Moreover,
 3
     under Arizona law, PSSC Companies, LLC d/b/a/ Gentry Estates must retain counsel to
 4
 5   bring this lawsuit in the name of the entity. Therefore, it is not sufficient for Schuler to

 6   simply amend the Complaint to name the proper Plaintiff, without obtaining legal
 7
     representation.
 8
 9
10 III.     CONCLUSION

11          Based on the foregoing, Plaintiff’s Complaint fails to state a claim upon which
12
     relief could be granted to him. Plaintiff was not a party to the contractual agreement
13
     alleged in the Complaint, and, therefore, by operation of law, the Complaint must be
14
15   dismissed under Civil Rule 12(b)(6). Further, the proper Plaintiff in this matter is an

16   entity, which must be represented by counsel to bring any action related to this contract.
17
     Accordingly, Plaintiff’s Complaint must be dismissed in its entirety. Defendants request
18
     their attorneys’ fees and costs in defending this action pursuant to A.R.S. §12-341.01.
19
20                  DATED this 23rd day of June, 2023.

21
                                                 PALECEK & PALECEK PLLC
22

23                                               By:    /s/ James J. Palecek
24                                                      James J. Palecek
                                                        6263 N. Scottsdale Rd., Suite 144
25                                                      Scottsdale, Arizona 85250
                                                        Attorneys for Defendants
26
27

28


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 1
 2
 3
 4
 5   ORIGINAL of the foregoing filed
     This 23rd day of June, 2023 with:
 6
     Maricopa County Superior Court
 7
     The Honorable Peter Thompson
 8
     COPY of the foregoing mailed / emailed
 9   This 23rd day of June, 2023 to:
10
     Clint Schuler
11   7907 E. Portobello Avenue
     Mesa, AZ 85212
12
     schulerclint@gmail.com
13   Plaintiff – Pro Per
14
15   /s/ Sara Mills
     Sara Mills
16
17

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                                 ...set your hearts on all things above 




  HARPER Remodel Agreement
  THIS AGREEMENT made this__14th_ day of __December___, 2021.

  Between Owner/CLIENT(s):
  Chandler Harper and Randee Harvel
  chandlerharper0503@gmail.com; chandler@wingatelawfirm.com
  randee.e.harvel@gmail.com
  15812 E Thistle Dr., Fountain Hills, AZ

  -and- PSSC COMPANIES LLC dba GENTRY ESTATES  AZ ROC 278337  Contractor




  For the following Project: Harper Home Remodel pursuant to a full set of
  construction drawings to be drafted and submitted to the building department for
  approval, and as agreed with Owner/Client and HOA as is applicable.




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  RESPONSIBILITIES of the Parties

  The Owner/Client(s) and PSSC COMPANIES LLC dba GENTRY ESTATES agree as
  set forth in the following terms and conditions that:
  PSSC COMPANIES LLC dba GENTRY ESTATES as Contractor will complete the
  following tasks hereinafter called the Scope of Work.

  OVERALL Scope of Work:
  Drafting, Construction Plan Submission, Design/3D Modeling and
  Construction
  -   Client/Owner has submitted a proposed remodel floor plan to Contractor and Contractor
      agrees to draft a full and complete set of construction building plans related to this floor plan
      for Owner/Clients approval and to be submitted to the building department for review and
      approval. Any required redlines by the building department will be addressed by Contractor
      and are included in this agreement.
  -   Contractor has provided Owner/Client with an estimated construction cost breakdown
      subject to the final approved construction drawings and any subsequent changes/additions.
      (Construction Estimate is attached hereto as exhibit A)
  -   All demo work, labor and materials will be completed per plans
  -   All underground plumbing work, labor and materials is included per plans.
  -   All rough in plumbing, electric and HVAC work, labor and materials, is included per code,
      per approved plans.
  -   All insulation, drywall, paint and carpentry trim work labor and materials is included per
      plans and owner specifications.
  -   This is a turnkey project and all work will be completed by Contractor per plans and
      specifications per the estimated construction cost breakdown
  -   All work will be completed per applicable building code and according to industry standards
      for high quality workmanship

  Specific to DESIGN/3D Modeling/Fit and Finishes:

          Owner/Client agrees (in conjunction with hiring Contractor to build their remodel/new
          home project), Owner/Client is also contracting with our on-staff Designer to work
          with them in sourcing and selecting industry standard fit and finishes (all finish
          materials) for their construction project. These fit and finishes are to be sourced and
          selected in conjunction with Owner/Clients budget as identified in Contractors cost
          breakdown/estimate or pursuant to written change order with Owner/Client.
          Owner/Client agrees and desires our on-staff Designer to aid in their design, sourcing,
          and purchasing of all items related to fit and finishes for the project and for Designer to
          aid in supervising construction of Owner/Clients design, along with Contractor, through
          to completion of the project.
          Owner/Client agrees our on-staff Designer, will be responsible for sourcing, selecting,
          and purchasing all industry standard termed fit and finish items according to clients
          personal taste in agreement with Owner/Client.




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        Owner/Client acknowledges they will relinquish to Designer full creative freedom to
        initiate, develop and source, pursuant to Designers timeline, all fit and finish
        designs/specifications for Owner/Clients project with Contractor.
        Owner/Clients are allowed 2 changes/reselections relative to each fit and finish design
        category provided by Designer (i.e. all finish materials including but not limited to:
        lighting, flooring and wall tile, cabinets and countertops, painting materials, plumbing
        fixtures, etc).
        In the event the agreed upon allotted changes to Designers designs or specifications
        (and including sourcing) are exhausted and there are subsequent changes/reselections
        by Owner/Client, these changes will result in an additional charge of $125 per hour for
        Designers continued time incurred on the project plus any applicable fees or charges
        for changes in costs of related design items.
        Owner/Client agrees to work with Designer for sourcing and selection of industry
        standard fit and finishes design selections for the entirety of their project with
        Contractor, pursuant to budget with Contractor or subsequent change order(s), this
        does not preclude Owner from finding fit and finish sourcing on their own and advising
        Designer/Contractor.
        Designer agrees to make every effort to source design selections based on
        Owner/Clients personal taste and budget to the best of their ability and pursuant to
        current market conditions/product availability to Contractor.
        Designer will provide the above services to Owner/Client ideally through preferred
        vendors of Designer/Contractor at discount(s)/pricing. Owner agrees to work with
        Vendors recommended by Designer/Contractor and if Owner chooses to solicit products
        from other Vendor(s) or Supplier(s), Owner/Client agrees to allow Designer/Contractor
        to negotiate discounted pricing prior to placing any orders for materials, supplies or
        related products.

  TOTAL ESTIMATED FEES FOR THE ABOVE SCOPE OF WORK (subject to
  final approved building and fit and finish plans) is $211,118.25

  AGREED UPON PAYMENT/DRAW SCHEDULE IS AS FOLLOWS:

        Down payment on this agreement is 10% of the estimated total fees above, for a
        total of $21,111.82, and is due upon execution of this agreement payable to
        Contractor via Cashiers Check or certified funds or ACH bank transfer.
        The balance of payment owed to Contactor will be made by Owner/Client
        according to a predetermined 4-5 subsequent written draw requests submitted
        to Owner/Client (approx. bi-weekly or monthly) by Contractor as work
        progresses. Upon submission of each successive draw request, owner/Client
        agrees to fund Contractor via Cashiers check or certified funds within 5 days of
        signed draw request.




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         Typical draw requests will be made by Contractor in stages; i.e., plan submission,
         after demo is complete, framing is complete, rough ins are complete, drywall is
         complete and at project finish and issuance of certificate of occupancy.
         Construction term is approx. 4-6 months depending on material and
         subcontractor availability at the time of construction and is subject to Covid-19
         and its effect on materials, supplies and labor.

  **Payments to be via cashiers check or certified funds made payable to
  PSSC Companies LLC, or via direct ACH payment to Bank of America, Direct
  Deposit, Acct# 457037891084 or via Zelle Transfer to
  buildit@gentryestates.com

  TERMS AND CONDITIONS
  Extra Disbursements or Changes
  The Client agrees to pay PSSC COMPANIES LLC dba GENTRY ESTATES, the TOTAL
  PROJECT FEES (above) and for all additional disbursements (if any) associated with
  this Project which may have been made by PSSC/Gentry to engineers or additional sub-
  consultants or sub-contractors or suppliers on request and prior approval of
  CLIENT/Owner. These disbursements may include but are not limited to: changes to
  plans requiring extra costs, special engineering fees as may be required during
  construction, sub-consultant fees, special permit application fees, drawing reproduction
  costs, increases in cost of materials necessary to complete work detailed or reflected on
  original plans and not the fault of Contractor.

  PSSC COMPANIES dba GENTRY ESTATES agree to obtain written permission from
  the Client prior to incurring the costs for all extra disbursements/change fees. Any
  advanced or other disbursements/change fees becoming due within a particular phase
  are due and payable to Subcontractor at the completion of that phase as outlined above
  or as agreed between the parties.

  Required Information
  The Client warrants and shall furnish at his or her own expense any plan information,
  that may be required for the completion of the Project prior to starting or continuing
  specified work, including any special inspections that may be required, the accuracy and
  completeness of which PSSC COMPANIES LLC dba GENTRY ESTATES LLC shall be
  entitled to rely upon. This information includes but is not limited to: rough plan drawings,
  certified land surveys, real property reports, building inspection reports, soil tests, special
  inspection needs, and environmental surveys, HOA requirements, Building
  Department/Planning Department Requirements, Engineering.


  Payment of Fees
  The fees for the Project shall be paid as outlined under Project fees. The Client agrees
  that all outstanding fees and disbursements are to be paid in full prior to completing




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  more work or changes. Any outstanding balance over thirty days is subject to a monthly
  interest charge of 2%.

  Governing Law

  State of Arizona

  Suspension or Termination
  If the Project is terminated or if the Project is suspended or abandoned in whole or in
  part for more than a total of 30 days whether consecutive or not, PSSC COMPANIES
  LLC dba GENTRY ESTATES shall be compensated within 30 days of the date that an
  invoice is rendered for all services performed to that date together with
  reimbursable/disbursements/changes expenses. If the Project is resumed after being
  suspended or abandoned in whole or in part for more than a total of 30 days whether
  consecutive or not, the fee shall be equitably adjusted.

  Unless otherwise stated in this agreement, PSSC Companies LLC dba GENTRY
  ESTATES services terminate after substantial performance. Any other termination of this
  agreement must be made in writing. PSSC COMPANIES LLC dba GENTRY ESTATES
  liability is limited to the correction of work in compliance with the drawings or required
  building inspections reports only for industry standard of workmanship.
  This agreement may be terminated by either party upon seven days written notice
  should the other party fail substantially to perform in accordance with its terms through
  no fault of the party initiating the termination.
  This agreement may be terminated by the Client upon at least thirty days written notice
  to PSSC COMPANIES LLC dba GENTRY ESTATES in the event that the Project is
  permanently abandoned. Termination of this agreement must be in writing.

  Notices

  Any Notices are to be delivered to the parties as follows:


  Owner/Client(s)-at address above and or via email to: chandler@wingatelawfirm.com

  GENTRY ESTATES LLC member of PSSC COMPANIES LLC: clint@gentryestates.com;
  480-712-2223 (work); 480-721-9023 (cell), 6239 E Brown Rd. #107 Mesa, AZ 85212

  Terms and Descriptions as outlined above AGREED to this 14th day of December, 2021,


  Owner/Client(s) Signature(s):

  Name(s)__________________________

  DATE:____________________________




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  _____________________________________________________________________________
  Clint Schuler/Contractor  PSSC COMPANIES LLC dba Gentry Estates
  www.gentryestates.com clint@gentryestates.com

  DATE:____________________________




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